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                   IN THE UNITED STATES DISTRICT COURT FOR
                          NORTHERN DISTRICT OF FLORIDA
                                    (Gainesville Division)


UNITED STATES OF AMERICA )
                         )
          v.             )                                Docket No. 1:04CR10-007
                         )
MARCIA THURMAN           )




                                    ORDER
       The Court orders the United States Marshal’s Office to transport and deliver Defendant,

Marcia Thurman, to Keeton Corrections, 3820 N.E. 41st Street, Ocala, Florida 34479, on June 20,

2005, by noon.



       DONE and ORDERED this          13th day of June 2005.




                                           s/ Stephan P. Mickle
                                           HONORABLE STEPHAN P. MICKLE
                                           U.S. DISTRICT JUDGE
